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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


TAUSMAN DESIGNS, LLC,

                              Plaintiff,                           Civil Action No. 2:20-cv-l 084

V.


DASANI, et al.,

                              Defendants.                      FILED UNDER SEAL



            1) TEMPORARY RESTRAINING ORDER; 2) ORDER RESTRAINING
 ASSETS AND 1\1ERCHANT STOREFRONTS; 3) ORDER TO SHOW CAUSE WHY A
      PRELIMINARY INJUNCTION SHOULD NOT ISSUE; AND 4) ORDER
                 AUTHORIZING EXPEDITED DISCOVERY

       This matter is before the Court upon Plaintiffs Ex Parle Application for the following : 1)

a temporary restraining order; 2) an order restraining assets and Merchant Storefronts (as defined

infra); 3) an order to show cause why a preliminary injunction should not issue; and 4) an order

authorizing expedited discovery against the Defendants identified on Schedule "A" to the

Complaint and attached hereto (collectively, the "Defendants"). The Court has considered the

Application, the evidence in the record, and the applicable law.

       By the instant Application, Plaintiff TALISMAN DESIGNS, LLC, move ex parte

pursuant to 15 U.S.C. § 1116, Federal Rules of Civil Procedure 64 and 65, and The All Writs

Act, 28 U.S .C. § 165l(a), for entry of a temporary restraining order and an order restraining

assets and Merchant Storefronts, for federal unfair competition in violation of Section 43(a) of

the Trademark Act of 1946, as amended; federal trademark infringement; common law unfair

competition; and common law trademark infringement. Because Plaintiff has satisfied the
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requirements for the issuance of a temporary restraining order, the Court grants Plaintiffs

Application.


                      FACTUAL FINDINGS & CONCLUSION OF LAW

        1.     Plaintiff, TALISMAN DESIGNS, LLC , ("Talisman" or "Plaintiff') is likely to

prevail on its Lanham Act claims, and related state law claims at trial.

       2.      Katherine Waymire founded Talisman Designs in 2002 making handmade wine

accessories and packaging out of her home. Since then, Talisman Designs has created and

innovated all of its own products and packaging. Today, Talisman is a well-known national

brand in the gift and houseware industries. It is recognized for its quality, inventions, creative

packaging and whimsical characters. Talisman innovates across four main categories - Baking,

Prep Tools, Wood/Collections and Fun & Funky. Each category has a different, distinct look.

Talisman ' s customers immediately recognize their products because of this. For instance, in the

Fun & Funky line of products , most of the products have a distinct character that is personified

by a face or character. Talisman ' s customers often immediately recognize their new products as

being sold by them.

       3.      Talisman ' s top selling product called the Bacon Bin®bacon grease container

("Plaintiffs Product") was conceived by Waymire. Plaintiff owns the federally registered

trademark U.S. Reg. No. U .S. Trademark Registration No. 5,398,411 for BACON BIN®· The

Bacon Bin® grease holder is sold in online marketplaces such as Amazon.com and in brick and

mortar stores. The Plaintiffs Product is designed to both strain and then store bacon grease that is

poured into it while hot (up to 500 degrees Farenheit). The Plaintiffs Product includes a distinct

tin can shape with ridges all around it and a whimsical sculpted piggy face top. ("Plaintiffs

Trade Dress" or "Trade Dress").


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       4.      Plaintiff has gained significant rights in Plaintiffs' Mark and Trade Dress, through

use, advertising, and promotion. Plaintiff is also the owner of various published photographs,

videos, artwork, creative text, and product instructions appearing on talismandesigns.com and.

("Plaintiffs Works).

       5.      Defendants, by operating Internet based e-commerce stores, and fully interactive,

commercial Internet websites operating under Defendants' respective seller identities set forth on

Schedule "A" hereto (the "Seller IDs"), have advertised, promoted, sold, and offered for sale

goods featuring, displaying, and/or using Plaintiff's Mark and/or Plaintiff's Works and/or

Plaintiff's Trade Dress without authorization and Plaintiff has determined the products that each

Defendant is offering for sale are not genujne products.

       6.      Through the e-commerce marketplace platform, Plaintiff accessed all of the e-

commerce stores operating under Defendants' Seller IDs and captured the Defendants' listings at

issue on the e-commerce stores. At the conclusion of the process, the detailed webpages and

photographs were inspected by Plaintiffs representative who confrrmed that each Defendant is

featuring, displaying, and/or using Plaintiffs' Mark and/or Plaintiffs' Works and/or Trade Dress

without authorization and the products that each Defendant is offering for sale are not genuine

products.

       7.      Plaintiff has a strong probability of proving at trial that consumers are likely to be

confused by Defendants ' advertisement, promotion, sale, offer for sale, or distribution of

products with unauthorized and unlicensed uses of Plaintiffs' Mark and/or Plaintiffs' Works

and/or Plaintiffs Trade Dress, in violation of Section 43(a) of the Lanham Act, 15 U.S .C. §

l 125(a), in violation of the Section 1114 of the Lanham Act, and prevailing on its related state

law claims.


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        8.      Plaintiff, as well as consumers, is likely to suffer immediate and irreparable

losses, damages and injuries before Defendants can be heard in opposition, unless Plaintiffs

Application for ex parte relief is granted. There is good cause to believe that the unauthorized

and unlicensed use of Plaintiffs' Mark, Plaintiffs' Works, and/or Plaintiffs Trade Dress will

continue in the marketplace; that consumers are likely to be misled, confused, and disappointed

by the quality of the products so advertised, and that Plaintiff may suffer loss of sales for its

genuine products and an unnatural erosion of the legitimate marketplace in which it operates.

There is also good cause to believe that if Plaintiff proceeds on notice to Defendants of this

Application, Defendants can easily and quickly change the ownership or modify e-commerce

store account data and content, change payment accounts, redirect consumer traffic to other

seller identification names, and transfer assets and ownership of Seller IDs, thereby thwarting

Plaintiffs ability to obtain meaningful relief. As other courts have recognized, proceedings

against those who deliberately traffic in infringing merchandise are often useless if notice is

given to the adverse party.

        9.      The balance of potential harm to Defendants of being prevented from continuing

to profit from their illegal and infringing activities if a temporary restraining order is issued is far

outweighed by the potential harm to Plaintiff, its reputation, and its goodwill as a manufacturer

and distributor of quality products, if such relief is not issued.

        10.     The public interest favors issuance of the temporary restraining order in order to

protect Plaintiffs interests and protect the public from being injured, deceived and defrauded by

the passing off of Defendants substandard goods as Plaintiffs genuine goods .

        11.     Under Pennsylvania law this Court may issue a prejudgment asset restraint where

Plaintiffs complaint asserts a claim for money damages. This Court also has the inherent


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authority to issue a prejudgment asset restraint when Plaintiffs complaint seeks relief in equity.

According to both the Lanham Act, 15 U.S.C. § l l l 7(a)(l), Plaintiff is entitled, "subject to the

principles of equity, to recover ... defendant's profits ." Plaintiff seeks, among other relief, that

Defendants account for and pay to Plaintiff all profits realized by Defendants by reason of

Defendants ' unlawful acts. Therefore, this Court has the authority to grant Plaintiffs request for

a prejudgment asset freeze to preserve the relief sought by Plaintiff and preserve the Defendants '

ability to at least partially satisfy a judgment.


        12.       Similarly, if Defendants are given notice of the Application, they are likely to

destroy, move, hide or otherwise make inaccessible to Plaintiff the records and documents

relating to Defendants' illegal and infringing activities . Therefore, Plaintiff has good cause to be

granted expedited discovery.


                                                ORDER

       Based on the foregoing findings of fact and conclusions of law, Plaintiffs Application is

hereby GRANTED as follows (the "Order"):




                                  I. Temporary Restraining Order

A. IT IS HEREBY ORDERED , as sufficient cause has been shown, that each Defendant, its

   officers, clirectors, employees, agents, subsidiaries , distributors, and all persons in active

   concert or participation ':Vith any Defendant having notice of this Order are hereby restrained

   as follows :

   (!) from (a) their unauthorized and unlicensed use of Plaintiffs Mark, Plaintiffs Works

       and/or Plaintiffs Trade Dress in connection with the distribution, marketing, advertising,



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       offering for sale, or sale of any products; and (b) shipping, delivering, holding for sale,

       transferring or otherwise moving, storing, distributing, returning, or otherwise disposing

       of, in any manner products which use Plaintiffs Mark, Plaintiffs Works, and/or

       Plaintiffs Trade Dress;

  (2) from secreting, concealing, destroying, altering, selling off, transferring or otherwise

      disposing of and/or dealing with any computer files, data, business records, documents or

      any other records or evidence relating to their User Accounts, 1 Merchant Storefronts 2 or

      any money, securities or other property or assets of Defendants (hereinafter collectively

      referred to as "Defendants' Assets");


  (3) effecting assignments or transfers, fanning new entities or associations, or creating

      and/or utilizing any other platform, User Account, Merchant Storefront or any other

      means of importation, exportation, advertising, marketing, promotion, distribution, and/or

      display for the purposes of circumventing or othe1wise avoiding the prohibitions set forth

      in this Order;

  (4) each Defendant, its officers, directors, employees, agents, subsidiaries, distributors, and

      all persons in active concert or participation with any Defendant having notice of this

      Order shall immediately discontinue use of the Plaintiffs' Mark and/or Plaintiffs' Works

      and/or Plaintiffs Trade Dress within metatags or other markers within website source

                                                                                                             I
  As defined in the Application, a "User Account" is, as defined in the Complaint, any and all accounts with
  online marketplace platform(s) Amazon.com, eBay.com, Aliexpress.com, and wish.com as well as any and all
  as yet undiscovered accounts with additional online marketplace platfo1ms held by or associated with
  Defendants, their respective officers, employees, agents, servants and all other persons in active concert with
  any of them.

  As defined in the Application, a "Merchant Storefront" is any and all User Accounts through which Defendants,
  their respective officers, employees, agents, servants and all persons in active concert or participation with any
  of them operate storefronts to manufacture, import, export, advertise, market, promote, distribute, display, offer
  for sale, sell and/or otherwise deal in products which are held by or associated with Defendants, their respective
  officers, employees, agents, servants and all persons in active concert or participation with any of them.


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     code, from use on any web page (including as the title of any product listing), from any

     advertising links to other websites, from search engines' databases or cache memory, and

     any other fonn of use such terms or works which is visible to a computer user or serves to

     direct computer searches to Internet based e-commerce stores owned, or operated by each

     Defendant, including the Merchant Storefronts operating under the Seller IDs;

  (5) each Defendant shall not transfer ownership of the User Accounts or Merchant

     Storefronts associated with the Seller IDs;

  (6) each Defendant shall preserve copies of all computer files relating to the use of any User

     Accounts and/or Merchant Storefronts under the Seller IDs and shall take steps necessary

     to retrieve computer files relating to the use of the User Accounts and/or Merchant

     Storefronts under their Seller IDs that may been deleted before the entry of this Order;

  (7) upon receipt of notice of this Order, Defendants and all financial institutions, payment

     processors, banks, escrow services, money transmitters, or marketplace platforms,

     including but not limited to Alibaba.com US LLC d/b/a Aliexpress.com ("Aliexpress"),

     Amazon.com, Inc. and its affiliate, Amazon Services LLC d/b/a Amazon .com

     ("Amazon"), eBay, Inc. d/b/a eBay.com ("eBay"), and Context Logic, Inc d/b/a

     wish.com ("Wish") ("Third Party Service Provider(s)" ) and AliPay US Inc. d/ b/a

     Alipay.com ("Alipay"), Amazon Payments, Inc . d/b/a pay.amazon.com, and PayPal, Inc.

     d/b/a paypal.com ("PayPal") ("Financial Institution(s)"), and their related companies and

     affiliates, shall immediately identify and restrain all funds, as opposed to ongoing account

     activity, in or which are hereafter transmitted into the accounts related to the Defendants

     as identified on Schedule "A" hereto, as well as all funds in or which are transmitted into

     (i) any other accounts of the same customer(s); (ii) any other accounts which transfer


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      funds into the same financial institution account(s), and/or any of the other accounts

      subject to this Order; and (iii) any other accounts tied to or used by any of the Seller IDs

      identified on Schedule "A" hereto;3

  (8) upon receipt of notice of this Order., Defendants and all financial institutions, payment

      processors, banks, escrow services, money transmitters, or marketplace platforms,

      including but not limited to the Third Party Service Provider(s) and the Financial

      Institution(s), shall immediately djvert to a holding account for the trust of the Court all

      funds in or which are hereafter transmitted into all accounts related to Defendants

      identified in Schedule "A" hereto, and associated payment accounts, and any other

      accounts for the same customer(s) as well as any other accounts which transfer funds into

      the same financial institution account(s) as any other accounts subject to this Order;

  (9) The Third Party Service Provider(s) and Financial Institution(s) shall further, within five

      (5) business days ofreceiving this Order, provider Plaintiffs counsel with all data that

      details (i) an accounting of the total funds restrained and identifies the financial

      account(s) which the restrained funds are related to, and (ii) the account transactions

      related to all funds transmitted into financial account(s) which have been restrained. Such

      restraining of the funds and the disclosure of the related financial institution account

      infom1ation shall be made without notice to the account holders, until after those

      accounts are restrained. No funds restrained by this Order shall be transferred or

      surrendered by any Third Party Service Provider or Financial Institution for any purpose

      (other than pursuant to a charge back made pursuant to that Third Party Service Provider


  This Order contemplates that discovery may reveal that Defendants may have other user accounts operated by
  other Third Party Service Providers and Financial Institutions and that the additi onally discovered Third Party
  Service Providers and Financial Institutions, once identified and provided with notice, shall also be subject to
  the discovery, restraints and injunctions set forth in this Order.


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       or Financial Institution's security interest in the funds) without express authorization of

       this Court;

   (10) Upon Plaintiffs request, any Internet marketplace who is provided with notice of this

       Order, including but not limited to the Third Party Service Provider(s) and Financial

       Institution(s), shall immediately cease fulfillment of and sequester Defendants ' inventory

       assets corresponding to the Seller IDs identified on Schedule "A" hereto in its inventory,

      possession, custody, or control, and hold such goods in trust for the Court during

      pendency of this action;

   ( 11) this Order shall apply to the Seller IDs, associated Accounts and Merchant Storefronts,

      and any other seller identification names , Accounts or Merchant Storefronts, Third Party

      Service Provider or Financial Institution accounts which m-e being used by Defendants

      for the purpose of infringing the Plaintiffs ' Mark, Plaintiffs ' Works, and/or Plaintiffs

      Trade Dress and/or unfairly competing with Plaintiff;

   (12) Defendants and all financial institutions, payment processors, banks, escrow services,

      money transmitters, or marketplace platforms, including but not limited to the Third Party

      Service Provider(s) and the Financial Institution(s), subject to this Order may petition the

      Court to modify the asset restraint set out in this Order; and

   (13) this Order shall remain in effect until the date for the hearing to show cause why a

      preliminary injunction should not be issued as set forth below, or until such further dates

      as set by the Court or stipulated by the parties.

B. IT IS HEREBY ORDERED, as sufficient cause has been shown, that upon Plaintiffs

   request, any Internet marketplace who is provided with notice of this Order, including but not




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     limited to the Third Party Service Providers and Financial Institutions, is hereby restrained

     and enjoined from engaging in any of the following acts or omissions pending the hearing

     and dete1mination of Plaintiffs Application for a preliminary injunction, or until further

     order of the Court:

     (I) secreting, concealing, transferring, disposing of, withdrawing, encumbering or

         paying Defendants' Assets from or to financial accounts associated with or

         utilized by any Defendant or any Defendant' s User Accounts or Merchant

         Storefront(s) (whether said account is located in the U.S . or abroad)

         ("Defendants' Financial Accounts") until further ordered by this Court; and

     (2) within (5) days after receiving notice of this Order, providing services to Defendants,

         Defendants' User Accounts and Defendants' Merchant Storefronts, including, without

         limitation, continued operation of Defendants' User Accounts and Merchant Storefronts,

         and any other listings linked to the same sellers or linked to any other alias seller

         identification names being used and/or controlled by Defendants.




                      II. Order to Show Cause Why a Preliminary Injunction
                              Should Not Issue and Service of Order

      A. Defendants are hereby ORDERED to show cause before this Court in the United States

District Court for the Western District of Pennsylvania, the U.S. Courthouse, 700 Grant Street,
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Pittsburgh, Pennsylvania in Courtroom No. __C_ on the ~              day of.,Q'-l~w-t-- at e!f ! :1 cJ
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,::J. .m. Oi itt sw0h other ~l~i ~hat ,~iii C,mi;t eeoffls 1tr,p1ei,rift:1'&; why a preliminary injunction,

pursuant to FRCP 65(a), should not issue. Defendants are on notice thatraih~                         ppear at

the hearing may result in the imposition of a preliminary injunction against them.



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    B. Opposing papers, if any, shall be filed electronically with the Court and served on

Plaintiffs ' cow1sel by delivering copies thereof to the office of Ference & Associates LLC at 409

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Broad Street, Pittsburgh, Pennsylvania 15143 beff?'e                                 , 2020. Plaintiffs shall file

any Reply papers on or before ,~,'/ 31                  , 2020.

     C. After Plaintiffs ' counsel has received confirmation from the Third Party Service

Providers and Financial Institutions or otherwise, regarding the restraint of funds directed herein,

Plaintiffs shall serve copies of the Complaint, the Application, this Order, and any Discovery on

each Defendant via their corresponding email/online contact form provided on the Internet based

e-commerce stores operating under the respective Seller IDs, or by providing a copy of this order

by e-mail to the marketplace platform, which in turn notifies each Defendant of the Order, or by

other means reasonably calculated to give notice which is pem1itted by the Court. In addition,

Plaintiffs shall post copies of the Complaint, Application, this Order, any Discovery, and all
                                                                                                          4
other pleadings and documents filed in this action on a website designated by Plaintiffs, and

shall provide the website address to Defendants via e-mail/online contact fonn , and such notice

so given shall be deemed good and sufficient service thereof. Plaintiffs shall continue to provide

notice of these proceedings and copies of the documents on file in this matter to Defendants by

regularly updating the website designated by Plaintiffs or by other means reasonably calculated

to give notice which is pennitted by the Court.

                             III. Order Authorizing Expedited Discovery

A. IT IS FURTHER ORDERED, as suffi cient cause has been shown, that:




   Rule 65 has been interpreted to require that a party have notice of the motion and hearing; perfec tin g service on
   a defendant is not a prerequisite to the entry of a preliminary injunction order. Pate v. Gov 't of the Virgin
   Islands, 201 5 WL 193770 1 n.9 (VI Sup. Ct. April 17, 201 5); Corrigan Dispatch Co. v. Casa Guzman, SA. , 569
   F.2d 300, 302 (5th Cir. 1978).


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   ( l) Plaintiff may propound interrogatories pursuant to Rules 26 and 33 of the Federal Rules

       of Civil Procedure, and Defendants, their respective officers, employees, agents, servants

       and attorneys, and all persons in active concert or participation with any of them, who

       receive actual notice of this Order, shall provide written responses under oath to such

       interrogatories within fourteen (14) days of service to Plaintiffs ' counsel.

   (2) Plaintiff may serve requests for the production of documents pursuant to FRCP 26 and

       34, and Defendants, their respective officers, employees, agents, servants and attorneys,

       and all persons in active concert or participation with any of them, who receive actual

       notice of this Order, shall produce all documents responsive to such requests within

       fourteen ( 14) days of service to Plaintiffs ' counsel.

   (3) Plaintiff may serve requests for admissions pursuant to FRCP 26 and 36, and Defendants,

       their respective officers, employees, agents, servants and attorneys, and all persons in

       active concert or participation with any of them, who receive actual notice of this Order,

       shall provide written responses under oath to such requests within fourteen (14) days of

      service to Plaintiffs ' counsel.

B. IT IS FURTHER ORDERED, as sufficient cause has been shown, that within fourteen (14)

   days of receiving actual notice of this Order, Defendants and a11 financial institutions,

   payment processors, banks, escrow services, money transmitters, or marketplace platforms,

   including but not limited to the Third Party Service Provider(s) and the Financial

   Institution(s), shall provide to Plaintiffs counsel all documents and records in their

   possession, custody or control (whether located in the U.S. or abroad) relating to Defendants '

   User Accounts and Defendants ' Merchant Storefronts, including, but not limited to,

   documents and records relating to :


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    ( 1) any and all User Accounts and Defendants' Merchant Storefronts and account details,

        including, without limitation, identifying infonnation and account numbers for any and

        all User Accounts and Defendants ' Merchant Storefronts that Defendants have ever had

       and/or currently maintain with the respective Third Party Service Provider;

    (2) the identities, location and contact information, including any and all e-mail addresses of

        Defendants that were not previously provided;

    (3) the Defendants ' methods of payment, methods for accepting payment and any and all

       financial information, including, but not limited to, information associated with

       Defendants ' User Accounts and Defendants ' Merchant Storefronts, a full accounting of

       Defendants ' sales history and listing history under such accounts and Defendants '

       Financial Accounts associated with Defendants' User Accounts and Defendants'

       Merchant Storefronts; and

   (4) Defendants ' unauthorized and unlicensed use of Plaintiffs Mark, and/or Plaintiffs '

       Works, and/or Plaintiffs Trade Dress in connection with the distribution, marketing,

       advertising, offering for sale, or sale of any products, and any products which use

       Plaintiffs' Plaintiffs ' Mark, and/or Plaintiffs' Works, and/or Plaintiffs Trade Dress.

                                         V. Security Bond

       IT IS FURTHER ORDERED that Plaintiffs shall place security (corporate surety bond,

cash, certified check, or attorney' s check) in the amount of$ ~S'.'.) 1{)Ci),() Cbollars
                                  ~o--&
~ - - - - - - - ~ with the/\Court, which amount is determined adequate for the payment

of any damages any person may be entitled to recover as a result of an improper or wrongful

restraint ordered hereunder.




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                                        VI. Summons

       IT IS FURTHER ORDERED that the Clerk of the Court shall issue a single origjnal

summons jn the name of "DASANI and all other Defendants identified in the Complaint" that

will apply to all Defendants.




SO ORDERED.
               ';)I f'r"
SIGNED this al_ day of July, 2020, at
Pittsburgh, Pennsylvania
                                         I :tJrJ bm ,
                                                                               JUDGE




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      Case 2:23-cv-01840-WSS           Document 7-4       Filed 10/24/23      Page 16 of 48




                          UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


TALISMAN DESIGNS, LLC,                                          CIVIL ACTION NO. 2:20-cv-1084

                              Plaintiff,

v.                                                             FILED UNDER SEAL

DASANI, et al.,

                              Defendants.



     ORDER ON PLAINTIFF’S EX PARTE MOTION FOR AN ORDER AUTHORIZING
     ALTERNATIVE SERVICE ON DEFENDANTS PURSUANT TO FEDERAL RULE OF
                          CIVIL PROCEDURE 4(f)(3)


                        22 day of July, 2020, upon consideration of Plaintiff’s Ex Parte Motion for
         AND NOW, this ___
an Order Authorizing Alternative Service on Defendants Pursuant to Federal Rule of Civil Procedure
4(f)(3),

IT IS HEREBY ORDERED that said Motion is GRANTED;

IT IS FURTHER ORDERED that Plaintiffs are authorized to make alternative service of the
Summonses, the Complaint, any discovery, and all filings in this matter upon each Defendant in this
action, as follows:

1. via e-mail by providing the address to Plaintiffs’ designated website to Defendants via (i) the
        e-mail accounts provided by Defendants as part of the data related to their respective e-
        commerce stores, or (ii) the e-commerce marketplace for each of the e-commerce stores,
        or

2. via website publication by posting copies of the Summonses, Complaint, any Discovery, and all
        filings in this matter on Plaintiffs’ designated website on www.ferencelaw.com.




                                                           s/Arthur J. Schwab
                                                          United States District Judge

cc Stanley D. Ference III, Esq.
   courts@ferencelaw.com
   Brian Samuel Malkin, Esq.
   bmalkin@ferencelaw.com
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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA


TALISMAN DESIGNS, LLC,

                                     Plaintiff,                            Civil Action No. 20-1084

V.                                                                               (Judge Schwab)

DASANI, et al.,

                                     Defendants.



                        .       -·   - -- PRELIMINARY INJUNCTION ORDER

          WHEREAS, Plaintiff filed an Ex Parte Application for the following: 1) a temporary

restraining order; 2) an order restraining assets and Merchant Storefronts; 1 3) an order to show

cause why a preliminary injunction should not issue; and 4) an order authorizing expedited

discovery against all of the Defendants identified on the attached Schedule "A to the Complaint

and attached hereto (collectively, "the Defendants"), in light of the Defendants intentional and

willful unfair competition and infringement of Plaintiffs trademark and trade dress ("the

Infringing Products'')2 ("Application");



     A "Merchant Storefront" is any and all User Accounts, as defined in the Complaint, any and all accounts with
     online marketplace platform(s) Amazon.com, eBay.com, Aliexpress.com, and wish.com as well as any and all
     as yet undiscovered accounts with additional on line marketplace platforms held by or associated with
     Defendants, their respective officers, employees, agents, servants and all other persons in active concert with
     any of them .
     As alleged in Plaintiffs Complaint, " . .. Defendants have offered for sale, sold, and distributed knock-off and
     infringing versions of Plaintiff's BACON BIN® grease container which closely mimic the appearance of
     Plaintiff's genuine product within this district and throughout the United States by operating e-commerce stores
     established at least via the Amazon.com, eBay.com, Wish.com, and AliExpress.com Internet marketplaces
     ("User Account(s)"). Plaintiff' s top selling product is the Bacon Bin® grease container. ("Plaintiff's Product").
     Plaintiff owns the federally registered trademark U.S. Reg. No. 5,398,411 for BACON BIN®. The Plaintiffs
     Product includes a distinct tin can shape with ridges all around it and a whimsical sculpted piggy face top .
     ("Plaintiffs Trade Dress" or "Trade Dress") . Plaintiff is also the owner of various published photographs,
     videos, artwork, creative text, and product instructions appearing on talismandesigns.com website. ("Plaintiff's
     Works" or "Works").
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Service on Defendants Pursuant to Federal Rule of Civil Procedure 4(f)(3);


        WHEREAS, On August 21, 2020 at 1:00 p.m., the Court entered the following Orders:

        (A) (1) a temporary restraining order; (2) an order restraining assets and Merchant

Storefronts, (3) an order to show cause why a preliminary injunction should not issue; and (4) an

order authorizing expedited discovery against all of the Defendants identified on the attached

Schedule "A", and Amazon ("TRO") (Doc. No . 14); and

        (B) Order Authorizing Alternative Service on Defendants Pursuant to Federal Rule of

Civil Procedure 4(f)(3) (Doc. No. 19)("the Alternative Service Order");


        WHEREAS, pursuant to the terms of the Alternative Service Order, the Defendants have

been served with notice of this Show Cause Hearing; and

        WHEREAS, on August 3, 2020, Plaintiff appeared for the Order to Show Cause Hearing,

however no Defendants appeared. Further, none of the Third Party Service Provider(s) or

Financial Institution(s) appeared.

                                               I. Restraining Order

A. IT IS HEREBY ORDERED, as sufficient cause has been shown, the injunctive relief

   previously granted on July 21, 2020 at 1:00 p.m. (Doc. No . 14), shall remain in place through

   the pendency of this litigation, and issuing this Preliminary Injunction (hereafter "PI Order")

   is warranted under FRCP 65, and Section 34 of the Lanham Act.

   Accordingly, each Defendant, its officers, directors, employees, agents, subsidiaries,

   distributors, and all persons in active concert or participation with any Defendant having

   notice of this Order shall continue to be restrained as follows:


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    of them operate storetronts to manutacture, 1mpon, expon, auvt::n1st::, marKct, p1u111utc, u1:>t11uutc;, u1;,p1ay, vu-.,
    for sale, sell and/or otherwise deal in products which are held by or associated with Defendants, their respective
    officers, employees, agents, servants and all persons in active concert or participation with any of them.
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          Plaintiffs Trade Dress in connection with the distribution, marketing, advertising, offering

          for sale, or sale of any products; and (b) shipping, delivering, holding for sale, transferring or

          otherwise moving, storing, distributing, returning, or otherwise disposing of, in any manner

          products which use Plaintiffs Mark, Plaintiffs Works, and/or Plaintiffs Trade Dress;

      (2) from secreting, concealing, destroying, altering, selling off, transferring or otherwise

          disposing of and/or dealing with any computer files, data, business records, documents or
                                                                                                                 4
          any other records or evidence relating to their User Accounts,3 Merchant Storefronts or

          any money, securities or other property or assets of Defendants (hereinafter collectively

          referred to as "Defendants' Assets");

      (3) effecting assignments or transfers, forming new entities or associations, or creating

          and/or utilizing any other platform, User Account, Merchant Storefront or any other

          means of importation, exportation, advertising, marketing, promotion, distribution, and/or

          display for the purposes of circumventing or otherwise avoiding the prohibitions set forth

          in this Order;

      (4) each Defendant, its officers, directors, employees, agents, subsidiaries, distributors, and

          all persons in active concert or participation with any Defendant having notice of this

          Order shall immediately discontinue use of the Plaintiffs' Mark and/or Plaintiffs' Works


      As defined in the Application, a "User Account" is, as defined in the Complaint, any and all accounts with
      online marketplace platform(s) Amazon.com, eBay.com, Aliexpress.com, and wish.com as well as any and all
      as yet undiscovered accounts with additional online marketplace platforms held by or associated with
      Defendants, their respective officers, employees, agents, servants and all other persons in active concert with
      any of them.
4
      As defined in the Application, a "Merchant Storefront" is any and all User Accounts through which Defendants,
      their respective officers, employees, agents, servants and all persons in active concert or participation with any
      of them operate storefronts to manufacture, import, export, advertise, market, promote, distribute, display, offer
      for sale, sell and/or otherwise deal in products which are held by or associated with Defendants, their respective
      officers, employees, agents, servants and all persons in active concert or participation with any of them.


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  and/or Plaintiffs Trade Dress within metatags or other markers within website source

   code, from use on any web page (including as the title of any product listing), from any

   advertising links to other websites, from search engines' databases or cache memory, and

   any other form of use such tenns or works which is visible to a computer user or serves to

   direct computer searches to Internet based e-commerce stores owned, or operated by each

   Defendant, including the Merchant Storefronts operating under the Seller IDs;

(5) each Defendant shall not transfer ownership of the User Accounts or Merchant

   Storefronts associated with the Seller IDs;

(6) each Defendant shall preserve copies of all computer files relating to the use of any User

   Accounts and/or Merchant Storefronts under the Seller IDs and shall take steps necessary

   to retrieve computer files relating to the use of the User Accounts and/or Merchant

   Storefronts under their Seller IDs that may been deleted before the entry of this Order;

(7) upon receipt of the notice of this Order, Defendants and all financial institutions, payment

   processors, banks, escrow services, money transmitters, or marketplace platforms,

   including but not limited to Alibaba.com US LLC d/b/a Aliexpress.com ("Aliexpress"),

   Amazon.com, Inc. and its affiliate, Amazon Services LLC d/b/a Amazon.com

   ("Amazon"), eBay, Inc. d/b/a eBay.com ("eBay"), and Context Logic, Inc d/b/a

   wish.com ("Wish") ("Third Party Service Provider( s)' ') and AliPay US Inc. d/b/a

   Alipay.com ("Alipay"), Amazon Payments, Inc. d/b/a pay.amazon.com, and PayPal, Inc.

   d/b/a paypal.com ("PayPal") ("Financial Institution(s)"), and their related companies and

   affiliates, shall continue to restrain all funds, as opposed to ongoing account activity, in

   the accounts related to the Defendants as identified on Schedule "A" hereto, as well as all

   funds in or which are transmitted into (i) any other accounts of the same customer(s); (ii)


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                                                                                   account(s),

         and/or any of the other accounts subject to this Order; and (iii) any other accounts tied to

         or used by any of the Seller IDs identified on Schedule "A" hereto 5 ;

    (8) upon receipt of notice of this Order, Defendants and all financial institutions, payment

         processors, banks, escrow services, money transmitters, or marketplace platforms,

         including but not limited to the Third Party Service Provider(s) and the Financial

         Institution(s), shall continue to divert to a holding account for the trust of the Court all

         funds in all accounts related to Defendants identified in Schedule "A" hereto, and

         associated payment accounts, and any other accounts for the same customer(s) as well as

         any other accounts which transfer funds into the same financial institution account(s) as

         any other accounts subject to this Order;

    (9) The Third Party Service Provider(s) and Financial Institution(s) shall further, to the extent

         not already done, within five (5) business days ofreceiving this Order, provide Plaintiffs

         counsel with all data that details (i) an accounting of the total funds restrained and

         identifies the financial account(s) which the restrained funds are related to, and (ii) the

         account transactions related to all funds transmitted into financial account(s) which have

         been restrained. Such restraining of the funds and the disclosure of the related financial

         institution account information shall be made without notice to the account holders, until

         after those accounts are restrained . No funds restrained by this Order shall be transferred

         or surrendered by any Third Paiiy Service Provider or Financial Institution for any

         purpose (other than pursuant to a chargeback made pursuant to that Third Party Service

5
    This Order contemplates that discovery may reveal that Defendants may have other user accounts operated by
    other Third Party Service Providers and Financial institutions and that the additionally discovered Third Party
    Service Providers and Financial Institutions, once identified and provided with notice, shall also be subject to
    the discovery, restraints and injunctions set forth in this Order.


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   authorization of this Court;

( 10) Upon Plaintiff's request, any Internet marketplace who is provided with notice of this

   Order, including but not limited to the Third Party Service Provider(s) and Financial

   Institution(s), shall immediately cease fulfillment of and sequester Defendants' inventory

   assets corresponding to the Seller IDs identified on Schedule "A" hereto in its inventory,

   possession, custody, or control, and hold such goods in trust for the Court during

   pendency of this action;

(11) this Order shall apply to the Seller IDs, associated Accounts and Merchant Storefronts,

   and any other seller identification names, Accounts or Merchant Storefronts, or Amazon

   accounts which are being used by Defendants for the purpose of infringing the Plaintiffs '

   Mark, Plaintiffs ' Works, and/or Plaintiffs Trade Dress and/or unfairly competing with

   Plaintiff;

(12) Defendants and all financial institutions, payment processors, banks, escrow services,

   money transmitters, or marketplace platforms, including but not limited to the Third Party

   Service Provider(s) and the Financial Institution(s), subject to this Order may petition the

   Court to modify the asset restraint set out in this Order; and

(13) this PI Order and the Alternative Service Order shall remain in effect during the

   pendency of this action or until further order of the Court, and Plaintiff shall serve the

   Defendants with a copy of this Pl Order in accordance with the Alternative Service

   Order.




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B. IT IS HEREBY ORDERED, as sufficient cause has been shown, that those in privity with

    Defendants and with actual notice of this Order, including Third Party Service Providers, 6

    shall continue to be restrained and enjoined from engaging in any of the following acts or

    omissions shall remain in effect during the pendency of this action or until further order of

    the Court:


             (1) providing services for any accounts through which Defendants engage in

            the sale of Infringing Products, including without limitation, continued

             operation of Defendants' User Accounts and Merchant Storefronts;


             (2) displaying any advertisements used by or associated with Defendants in

             connection with the sale of Infringing Products; and


            (3) displaying links to any User Accounts or Merchant Storefronts associated

            with the Defendants in search results, including but not limited to, having

            links to any product listings, User Accounts, or Merchant Storefronts in any

            search index.


C. IT IS HEREBY ORDERED, as sufficient cause has been shown, that:


        ( 1) Amazon shall be restrained and enjoined, from processing payments for any products

        listed under the following Amazon Standard Identification Numbers (ASINs):

        B07DW6MZWL (red BACON BIN®), B07F1F6RQH (pink BACON BIN®),

        (B07HJX4646 -red twin pack BACON BIN®), and B07HJSB44L (red BACON BIN®



6
    Third Party Service Providers are any third-party providing services in connection with any Defendant and/or
    any Defendant's Merchant Storefront, including, without limitation, Internet Service Providers, back-end
    service providers, web designers, sponsored search engine providers, sponsored ad-words providers, sponsored
    shopping providers, merchant account providers, third-party processors and other payment processing services,
    shippers, domain name registrars and domain name registries.



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         contemporaneously with the service of this Order, Plaintiff shall provide notice to

         Amazon of Plaintiffs authorized sellers;

         (2) upon Plaintiffs request, Amazon shall remove listings and/or advertisements for any

         product that Plaintiff identifies as unfairly competing with Plaintiffs BACON BIN®

         grease container, and which has been identified as shipping from, or as originating from,

         outside the United States, by suspending, tombstoning, and/or deleting, the identified

         listing (i.e., preventing a seller from listing for sale under the identified ASIN);

         (3) the Third Party Service Providers and Financial Institutions,7 are hereby restrained

         secreting, concealing, transferring, disposing of, withdrawing, encumbering or paying

         Defendants' Assets from or to financial accounts associated with or utilized by any

         Defendant or any Defendant's User Accounts or Merchant Storefront(s) (whether said

         account is located in the U.S. or abroad) ("Defendants' Financial Accounts") until further

         ordered by this Court; and

C.    IT IS HEREBY ORDERED, as sufficient cause has been shown, that: to the extent not

      already done, within five (5) days ofrestraining funds pursuant to this Section, Amazon

      shall provide to Plaintiffs counsel a listing of any disbursements made from each Amazon

      account containing restrained funds between the date of receipt of this Order until t~e date

      the funds were restrained. Plaintiff may issue interrogatories requiring a response under

      oath.


     As defined, supra, Financial Institutions, include, any banks, financial institutions, credit card companies and
     payment processing agencies, such as AliPay US Inc. d/b/a Alipay.com ("Alipay"), Amazon Payments, Inc.
     d/b/a pay.amazon.com, Context Logic, Inc. d/b/a wish.com, and PayPal, Inc. d/b/a paypal.com ("PayPal")., and
     other companies or agencies that engage in the processing or transfer of money and/or real or personal property
     of any Defendant.



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D.      IT IS HEREBY ORDERED, as sufficient cause has been shown,

     ( 1)   that no funds restrained by this Order shall be transferred or surrendered by Third

            Party Service Providers or Financial Institutions, for any purpose (other than pursuant

            to a chargeback made pursuant to the their respective security interest in the funds)

            without express authorization of this Court or Plaintiffs counsel.

      (2)    Any Third Party Service Provider or Financial Institution or any Defendant or

             financial institution account holder subject to this Order may petition the Court to

             modify the asset restraint set out in this Order; and

      (3)   This Order shall remain in effect until such further dates as set by the Court or

            stipulated by the parties.

                                 JI. Order Authorizing Discovery

A. IT IS FURTHER ORDERED, as sufficient cause has been shown through Defendants'

     failure to: respond, participate in the ordered Rule 26(f) conference, and appear at the show

     cause hearing on August 3, 2020, Plaintiff may propound discovery upon Defendants, their

     respective officers, employees, agents, servants and attorneys, and all persons in active

     concert or participation with any of them, who receive actual notice of this Order, shall

     provide written responses under oath to such interrogatories within fourteen (14) of service,

     to Plaintiffs counsel.

B. IT IS FURTHER ORDERED, as sufficient cause has been shown, that within fomieen (14)

     days ofreceiving actual notice of this Order, to the extent not previously provided, all Third

     Party Service Providers and Financial Institutions shall provide to Plaintiffs counsel all

     documents and records in their possession, custody or control (whether located in the U.S. or



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    abroad) relating to Defendants' User Accounts and Defendants' Merchant Storefronts,

    including, but not limited to, documents and records relating to :


     (1)     any and all User Accounts and Defendants ' Merchant Storefronts and account details,

             including, without limitation, identifying infonnation and account numbers for any

             and all User Accounts and Defendants ' Merchant Storefronts that Defendants have

             ever had and/or currently maintain with the respective Third Party Service Provider;


     (2)     the identities, location and contact information, including any and all e-mail addresses

             of Defendants that were not previously provided;


     (3)     the Defendants' methods of payment, methods for accepting payment and any and all

             financial information, including, but not limited to, information associated with

             Defendants' User Accounts and Defendants ' Merchant Storefronts, a full accounting

             of Defendants ' sales history and listing history under such accounts and Defendants'

             Financial Accounts associated with Defendants ' User Accounts and Defendants'

             Merchant Storefronts; and


     (4 ).   Defendants ' manufacturing, importing, exporting, advertising, marketing, promoting,

             distributing, displaying, offering for sale and/or selling of products which use

             Plaintiffs Mark, and/or Plaintiffs Trade Dress and/or Plaintiffs Works, and/or

             works substantially similar to Plaintiffs Works .


                                         III. Security Bond

         IT IS FURTHER ORDERED, the $5 ,000.00 bond posted by Plaintiff shall remain with

the Court until a final disposition of this case or until this PI Order is terminated.




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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA


TALISMAN DESIGNS, LLC,

                                     Plaintiff,                            Civil Action No. 20-1084

V.                                                                               (Judge Schwab)

DASANI, et al.,

                                     Defendants.



                        .       -·   - -- PRELIMINARY INJUNCTION ORDER

          WHEREAS, Plaintiff filed an Ex Parte Application for the following: 1) a temporary

restraining order; 2) an order restraining assets and Merchant Storefronts; 1 3) an order to show

cause why a preliminary injunction should not issue; and 4) an order authorizing expedited

discovery against all of the Defendants identified on the attached Schedule "A to the Complaint

and attached hereto (collectively, "the Defendants"), in light of the Defendants intentional and

willful unfair competition and infringement of Plaintiffs trademark and trade dress ("the

Infringing Products'')2 ("Application");



     A "Merchant Storefront" is any and all User Accounts, as defined in the Complaint, any and all accounts with
     online marketplace platform(s) Amazon.com, eBay.com, Aliexpress.com, and wish.com as well as any and all
     as yet undiscovered accounts with additional on line marketplace platforms held by or associated with
     Defendants, their respective officers, employees, agents, servants and all other persons in active concert with
     any of them .
     As alleged in Plaintiffs Complaint, " . .. Defendants have offered for sale, sold, and distributed knock-off and
     infringing versions of Plaintiff's BACON BIN® grease container which closely mimic the appearance of
     Plaintiff's genuine product within this district and throughout the United States by operating e-commerce stores
     established at least via the Amazon.com, eBay.com, Wish.com, and AliExpress.com Internet marketplaces
     ("User Account(s)"). Plaintiff' s top selling product is the Bacon Bin® grease container. ("Plaintiff's Product").
     Plaintiff owns the federally registered trademark U.S. Reg. No. 5,398,411 for BACON BIN®. The Plaintiffs
     Product includes a distinct tin can shape with ridges all around it and a whimsical sculpted piggy face top .
     ("Plaintiffs Trade Dress" or "Trade Dress") . Plaintiff is also the owner of various published photographs,
     videos, artwork, creative text, and product instructions appearing on talismandesigns.com website. ("Plaintiff's
     Works" or "Works").
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Service on Defendants Pursuant to Federal Rule of Civil Procedure 4(f)(3);


        WHEREAS, On August 21, 2020 at 1:00 p.m., the Court entered the following Orders:

        (A) (1) a temporary restraining order; (2) an order restraining assets and Merchant

Storefronts, (3) an order to show cause why a preliminary injunction should not issue; and (4) an

order authorizing expedited discovery against all of the Defendants identified on the attached

Schedule "A", and Amazon ("TRO") (Doc. No . 14); and

        (B) Order Authorizing Alternative Service on Defendants Pursuant to Federal Rule of

Civil Procedure 4(f)(3) (Doc. No. 19)("the Alternative Service Order");


        WHEREAS, pursuant to the terms of the Alternative Service Order, the Defendants have

been served with notice of this Show Cause Hearing; and

        WHEREAS, on August 3, 2020, Plaintiff appeared for the Order to Show Cause Hearing,

however no Defendants appeared. Further, none of the Third Party Service Provider(s) or

Financial Institution(s) appeared.

                                               I. Restraining Order

A. IT IS HEREBY ORDERED, as sufficient cause has been shown, the injunctive relief

   previously granted on July 21, 2020 at 1:00 p.m. (Doc. No . 14), shall remain in place through

   the pendency of this litigation, and issuing this Preliminary Injunction (hereafter "PI Order")

   is warranted under FRCP 65, and Section 34 of the Lanham Act.

   Accordingly, each Defendant, its officers, directors, employees, agents, subsidiaries,

   distributors, and all persons in active concert or participation with any Defendant having

   notice of this Order shall continue to be restrained as follows:


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    for sale, sell and/or otherwise deal in products which are held by or associated with Defendants, their respective
    officers, employees, agents, servants and all persons in active concert or participation with any of them.
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                                                                           Plaintiffs of 48 and/or
                                                                                      Works

          Plaintiffs Trade Dress in connection with the distribution, marketing, advertising, offering

          for sale, or sale of any products; and (b) shipping, delivering, holding for sale, transferring or

          otherwise moving, storing, distributing, returning, or otherwise disposing of, in any manner

          products which use Plaintiffs Mark, Plaintiffs Works, and/or Plaintiffs Trade Dress;

      (2) from secreting, concealing, destroying, altering, selling off, transferring or otherwise

          disposing of and/or dealing with any computer files, data, business records, documents or
                                                                                                                 4
          any other records or evidence relating to their User Accounts,3 Merchant Storefronts or

          any money, securities or other property or assets of Defendants (hereinafter collectively

          referred to as "Defendants' Assets");

      (3) effecting assignments or transfers, forming new entities or associations, or creating

          and/or utilizing any other platform, User Account, Merchant Storefront or any other

          means of importation, exportation, advertising, marketing, promotion, distribution, and/or

          display for the purposes of circumventing or otherwise avoiding the prohibitions set forth

          in this Order;

      (4) each Defendant, its officers, directors, employees, agents, subsidiaries, distributors, and

          all persons in active concert or participation with any Defendant having notice of this

          Order shall immediately discontinue use of the Plaintiffs' Mark and/or Plaintiffs' Works


      As defined in the Application, a "User Account" is, as defined in the Complaint, any and all accounts with
      online marketplace platform(s) Amazon.com, eBay.com, Aliexpress.com, and wish.com as well as any and all
      as yet undiscovered accounts with additional online marketplace platforms held by or associated with
      Defendants, their respective officers, employees, agents, servants and all other persons in active concert with
      any of them.
4
      As defined in the Application, a "Merchant Storefront" is any and all User Accounts through which Defendants,
      their respective officers, employees, agents, servants and all persons in active concert or participation with any
      of them operate storefronts to manufacture, import, export, advertise, market, promote, distribute, display, offer
      for sale, sell and/or otherwise deal in products which are held by or associated with Defendants, their respective
      officers, employees, agents, servants and all persons in active concert or participation with any of them.


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  and/or Plaintiffs Trade Dress within metatags or other markers within website source

   code, from use on any web page (including as the title of any product listing), from any

   advertising links to other websites, from search engines' databases or cache memory, and

   any other form of use such tenns or works which is visible to a computer user or serves to

   direct computer searches to Internet based e-commerce stores owned, or operated by each

   Defendant, including the Merchant Storefronts operating under the Seller IDs;

(5) each Defendant shall not transfer ownership of the User Accounts or Merchant

   Storefronts associated with the Seller IDs;

(6) each Defendant shall preserve copies of all computer files relating to the use of any User

   Accounts and/or Merchant Storefronts under the Seller IDs and shall take steps necessary

   to retrieve computer files relating to the use of the User Accounts and/or Merchant

   Storefronts under their Seller IDs that may been deleted before the entry of this Order;

(7) upon receipt of the notice of this Order, Defendants and all financial institutions, payment

   processors, banks, escrow services, money transmitters, or marketplace platforms,

   including but not limited to Alibaba.com US LLC d/b/a Aliexpress.com ("Aliexpress"),

   Amazon.com, Inc. and its affiliate, Amazon Services LLC d/b/a Amazon.com

   ("Amazon"), eBay, Inc. d/b/a eBay.com ("eBay"), and Context Logic, Inc d/b/a

   wish.com ("Wish") ("Third Party Service Provider( s)' ') and AliPay US Inc. d/b/a

   Alipay.com ("Alipay"), Amazon Payments, Inc. d/b/a pay.amazon.com, and PayPal, Inc.

   d/b/a paypal.com ("PayPal") ("Financial Institution(s)"), and their related companies and

   affiliates, shall continue to restrain all funds, as opposed to ongoing account activity, in

   the accounts related to the Defendants as identified on Schedule "A" hereto, as well as all

   funds in or which are transmitted into (i) any other accounts of the same customer(s); (ii)


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                                                              financial  Page
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                                                                                   account(s),

         and/or any of the other accounts subject to this Order; and (iii) any other accounts tied to

         or used by any of the Seller IDs identified on Schedule "A" hereto 5 ;

    (8) upon receipt of notice of this Order, Defendants and all financial institutions, payment

         processors, banks, escrow services, money transmitters, or marketplace platforms,

         including but not limited to the Third Party Service Provider(s) and the Financial

         Institution(s), shall continue to divert to a holding account for the trust of the Court all

         funds in all accounts related to Defendants identified in Schedule "A" hereto, and

         associated payment accounts, and any other accounts for the same customer(s) as well as

         any other accounts which transfer funds into the same financial institution account(s) as

         any other accounts subject to this Order;

    (9) The Third Party Service Provider(s) and Financial Institution(s) shall further, to the extent

         not already done, within five (5) business days ofreceiving this Order, provide Plaintiffs

         counsel with all data that details (i) an accounting of the total funds restrained and

         identifies the financial account(s) which the restrained funds are related to, and (ii) the

         account transactions related to all funds transmitted into financial account(s) which have

         been restrained. Such restraining of the funds and the disclosure of the related financial

         institution account information shall be made without notice to the account holders, until

         after those accounts are restrained . No funds restrained by this Order shall be transferred

         or surrendered by any Third Paiiy Service Provider or Financial Institution for any

         purpose (other than pursuant to a chargeback made pursuant to that Third Party Service

5
    This Order contemplates that discovery may reveal that Defendants may have other user accounts operated by
    other Third Party Service Providers and Financial institutions and that the additionally discovered Third Party
    Service Providers and Financial Institutions, once identified and provided with notice, shall also be subject to
    the discovery, restraints and injunctions set forth in this Order.


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           or Financial Institution ' s security7-4
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   authorization of this Court;

( 10) Upon Plaintiff's request, any Internet marketplace who is provided with notice of this

   Order, including but not limited to the Third Party Service Provider(s) and Financial

   Institution(s), shall immediately cease fulfillment of and sequester Defendants' inventory

   assets corresponding to the Seller IDs identified on Schedule "A" hereto in its inventory,

   possession, custody, or control, and hold such goods in trust for the Court during

   pendency of this action;

(11) this Order shall apply to the Seller IDs, associated Accounts and Merchant Storefronts,

   and any other seller identification names, Accounts or Merchant Storefronts, or Amazon

   accounts which are being used by Defendants for the purpose of infringing the Plaintiffs '

   Mark, Plaintiffs ' Works, and/or Plaintiffs Trade Dress and/or unfairly competing with

   Plaintiff;

(12) Defendants and all financial institutions, payment processors, banks, escrow services,

   money transmitters, or marketplace platforms, including but not limited to the Third Party

   Service Provider(s) and the Financial Institution(s), subject to this Order may petition the

   Court to modify the asset restraint set out in this Order; and

(13) this PI Order and the Alternative Service Order shall remain in effect during the

   pendency of this action or until further order of the Court, and Plaintiff shall serve the

   Defendants with a copy of this Pl Order in accordance with the Alternative Service

   Order.




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B. IT IS HEREBY ORDERED, as sufficient cause has been shown, that those in privity with

    Defendants and with actual notice of this Order, including Third Party Service Providers, 6

    shall continue to be restrained and enjoined from engaging in any of the following acts or

    omissions shall remain in effect during the pendency of this action or until further order of

    the Court:


             (1) providing services for any accounts through which Defendants engage in

            the sale of Infringing Products, including without limitation, continued

             operation of Defendants' User Accounts and Merchant Storefronts;


             (2) displaying any advertisements used by or associated with Defendants in

             connection with the sale of Infringing Products; and


            (3) displaying links to any User Accounts or Merchant Storefronts associated

            with the Defendants in search results, including but not limited to, having

            links to any product listings, User Accounts, or Merchant Storefronts in any

            search index.


C. IT IS HEREBY ORDERED, as sufficient cause has been shown, that:


        ( 1) Amazon shall be restrained and enjoined, from processing payments for any products

        listed under the following Amazon Standard Identification Numbers (ASINs):

        B07DW6MZWL (red BACON BIN®), B07F1F6RQH (pink BACON BIN®),

        (B07HJX4646 -red twin pack BACON BIN®), and B07HJSB44L (red BACON BIN®



6
    Third Party Service Providers are any third-party providing services in connection with any Defendant and/or
    any Defendant's Merchant Storefront, including, without limitation, Internet Service Providers, back-end
    service providers, web designers, sponsored search engine providers, sponsored ad-words providers, sponsored
    shopping providers, merchant account providers, third-party processors and other payment processing services,
    shippers, domain name registrars and domain name registries.



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            a hot pad), by any Seller Document
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         contemporaneously with the service of this Order, Plaintiff shall provide notice to

         Amazon of Plaintiffs authorized sellers;

         (2) upon Plaintiffs request, Amazon shall remove listings and/or advertisements for any

         product that Plaintiff identifies as unfairly competing with Plaintiffs BACON BIN®

         grease container, and which has been identified as shipping from, or as originating from,

         outside the United States, by suspending, tombstoning, and/or deleting, the identified

         listing (i.e., preventing a seller from listing for sale under the identified ASIN);

         (3) the Third Party Service Providers and Financial Institutions,7 are hereby restrained

         secreting, concealing, transferring, disposing of, withdrawing, encumbering or paying

         Defendants' Assets from or to financial accounts associated with or utilized by any

         Defendant or any Defendant's User Accounts or Merchant Storefront(s) (whether said

         account is located in the U.S. or abroad) ("Defendants' Financial Accounts") until further

         ordered by this Court; and

C.    IT IS HEREBY ORDERED, as sufficient cause has been shown, that: to the extent not

      already done, within five (5) days ofrestraining funds pursuant to this Section, Amazon

      shall provide to Plaintiffs counsel a listing of any disbursements made from each Amazon

      account containing restrained funds between the date of receipt of this Order until t~e date

      the funds were restrained. Plaintiff may issue interrogatories requiring a response under

      oath.


     As defined, supra, Financial Institutions, include, any banks, financial institutions, credit card companies and
     payment processing agencies, such as AliPay US Inc. d/b/a Alipay.com ("Alipay"), Amazon Payments, Inc.
     d/b/a pay.amazon.com, Context Logic, Inc. d/b/a wish.com, and PayPal, Inc. d/b/a paypal.com ("PayPal")., and
     other companies or agencies that engage in the processing or transfer of money and/or real or personal property
     of any Defendant.



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D.      IT IS HEREBY ORDERED, as sufficient cause has been shown,

     ( 1)   that no funds restrained by this Order shall be transferred or surrendered by Third

            Party Service Providers or Financial Institutions, for any purpose (other than pursuant

            to a chargeback made pursuant to the their respective security interest in the funds)

            without express authorization of this Court or Plaintiffs counsel.

      (2)    Any Third Party Service Provider or Financial Institution or any Defendant or

             financial institution account holder subject to this Order may petition the Court to

             modify the asset restraint set out in this Order; and

      (3)   This Order shall remain in effect until such further dates as set by the Court or

            stipulated by the parties.

                                 JI. Order Authorizing Discovery

A. IT IS FURTHER ORDERED, as sufficient cause has been shown through Defendants'

     failure to: respond, participate in the ordered Rule 26(f) conference, and appear at the show

     cause hearing on August 3, 2020, Plaintiff may propound discovery upon Defendants, their

     respective officers, employees, agents, servants and attorneys, and all persons in active

     concert or participation with any of them, who receive actual notice of this Order, shall

     provide written responses under oath to such interrogatories within fourteen (14) of service,

     to Plaintiffs counsel.

B. IT IS FURTHER ORDERED, as sufficient cause has been shown, that within fomieen (14)

     days ofreceiving actual notice of this Order, to the extent not previously provided, all Third

     Party Service Providers and Financial Institutions shall provide to Plaintiffs counsel all

     documents and records in their possession, custody or control (whether located in the U.S. or



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    abroad) relating to Defendants' User Accounts and Defendants' Merchant Storefronts,

    including, but not limited to, documents and records relating to :


     (1)     any and all User Accounts and Defendants ' Merchant Storefronts and account details,

             including, without limitation, identifying infonnation and account numbers for any

             and all User Accounts and Defendants ' Merchant Storefronts that Defendants have

             ever had and/or currently maintain with the respective Third Party Service Provider;


     (2)     the identities, location and contact information, including any and all e-mail addresses

             of Defendants that were not previously provided;


     (3)     the Defendants' methods of payment, methods for accepting payment and any and all

             financial information, including, but not limited to, information associated with

             Defendants' User Accounts and Defendants ' Merchant Storefronts, a full accounting

             of Defendants ' sales history and listing history under such accounts and Defendants'

             Financial Accounts associated with Defendants ' User Accounts and Defendants'

             Merchant Storefronts; and


     (4 ).   Defendants ' manufacturing, importing, exporting, advertising, marketing, promoting,

             distributing, displaying, offering for sale and/or selling of products which use

             Plaintiffs Mark, and/or Plaintiffs Trade Dress and/or Plaintiffs Works, and/or

             works substantially similar to Plaintiffs Works .


                                         III. Security Bond

         IT IS FURTHER ORDERED, the $5 ,000.00 bond posted by Plaintiff shall remain with

the Court until a final disposition of this case or until this PI Order is terminated.




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                               IV. Unsealing Order

       WHEREAS , the reasons for keeping the documents in this case sealed no longer exist, it

is FURTHER ORDERED that the Clerk of Court is hereby directed to unseal all the documents

previously filed under seal in this case.




SO ORDERED.         d_
SIGNED this ~       day of August, 2020
Pittsburgh, Pennsylvania




cc Stanley D. Ference III, Esq.
   courts@ferencelaw.com
   Brian Samuel Malkin, Esq.
   bmalkin@ferencelaw.com




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                         Schedule "A"
            Defendants With Store Name and Seller ID
   Defendant
             DefendanUS~ reName             Seller ID
   No.
        I       DASANI                      ATWOABRKYDC59

        2       AA-fashion                  A3R7VUXP8AT6S8

        3       Al lsuperDirect             AESJW6KWLXZZO

       4        baohuqusihanj in            A35XH4DTRI 0922

        5       cem1c                       A I X7CNIEN7DAP

       6        CT Direct Store             A38P5DA6CB99N9

       7        Daxin                       AJAHSQ2TPQEX

        8       DR Natural                  A2 l IN20G IL WJKE

       9        Emivery Direct              A3S I O0BZZUE I VI

       10       Fhsow                       A 1ZPD8ZX5 BN2LR

       1I       funarrow                    Al 1EDQ6UQ5OH8F

       12       Greatpad                    A32YVlBG6BNSKB

       13       LaiYam                      AIMSS2SSNSY7RT

       14       LEEaccessory                AlY0HOOSKBQFlL

       15       Light-Ren                   AIRZNE5Y09EUVY

   '            maohuashangcheng            AB9YO0PVOGT90
       16

       17       OSTRO                       A2KILDZTMV99DJ

       18       QinAi                       A5W0LZ4L Y0Q0O

       19       Royu                        A2A YZSNA83UAIF

       20       Sanmubo Trade               A2UCZ8AC20X9W6

       21       showhole                    Al CP0MDAL9JFTM

       22       Sundlight                   AlN3YRM4VTR0A3




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   Defendant
             Defendant/Store Name           Seller ID
   No.
       23      SY Direct Store              A lELP0PQ l 3RD0E

       24      Upperroof44                  A3GHARM07X54LI

       25      Urnanal                      A WGOQPJ5SE78U

       26      usams original               A3K2RIQKJ8SW2W

       27      VlSUSONLINE                  A2 l RES4S72ALEU

       28      VQS-LLC                      A 1QD4A WVLVNP4U

       29      waypool                      A25M12QDJFPJ1E

       30      xiangze                      AREX3GV 4VPP0N

       31      XINGPE                       A 1N0MYF79XSWT A

       32      YDKJ                         A1WET5VOG1HXBH

       33      Yuanzhou US                  A5QFDIOZIFKII

       34      YunFine INC                  A2ARSDLAEJ3COI

       35      Yuzoe Store                  A3GN86PNVGF184

       36      Zhengpin                     AlKBFROQYDV7B1

       37      ZHONG LI-US                  AlMC9F7B3O19JE

       38      aolipugre                    383518263944

       39      bachelor-button-a            333608813259

       40      beists                       383553117141

       41      betwill-88                   402309551475

       42      bluebell-b                   203004989583

       43      casand85                     392764754120

       44      cdhujun                      373031990208

       45      cell.expert                  133402785849

       46      chinatownnol                 303559475515




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   Defendant
             DefundanUS~reName              Seller ID
   No.
       47      df-311                       373060172021

       48      dowri-75                     164266070522

       49      eastauspicious               174144262125

       50      e-suggestion                 224048112803

       51      fashionyard68                143448120483

       52      fat-mango                    303497561617

       53      fist-line2                   392814825784

       54      garden show                  324193547715

       55      gelamee                      164269285 197

       56      gld_germanladen              383469479344

       57      heart-soul888                324140352658

       58      hksense 153                  124176456042

       59      home-ahome                   383378201131

       60      homefree-us                  392834135342

       61      homeshop-us                 ' 353108622657

       62      hugee6                       133416619418

       63      icenzma                      303550394507

       64      iriscelandine6               133442160171

       65      Jtazew                       233569793121

       66      jinshan2013                  14362238882 1

       67      joysistars                   133429929570

       68      lightshh                     283597139862

       69      lucky.shop_7                 193481500820

       70      nuoka7                       313087749438



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                                                               I
   Defendant
             Defendant/Store Name             Seller ID
   No.
       71      odhe15                         114230900808

       72      onlinenice                     202830539871

       73      priestlyy                      153946400943

       74      pulsation                      264663620296

       75      qingc44                        362799729739

       76      qingfengtop5                   184300363524

       77      rainc7                         362979394791

       78      shineshopa                     193473326177

       79      si lentmusic 1666-1            313 120735128

       80      ss-goodstore                   303573840783

       81      swtdkgs                        383521127485

       82      sx68wq                         353062380490

       83      teaodan                        373034603063

       84      tongliaoxinxi                  313109484873

       85      wyunlon0                       174263789449

       86      xxinlle                        383609503982

       87      zhezch                         193439383324

       88      zhongtl 1                      362978977410

       89      aweihgel5gr                    5b5547b64543f458cbe2177c

       90      baifumeimei                    5832ad86728490lb9ba0fd31



       92      DJY                            5dfle06f75e8lc0a4000a6ad

       93      guchastore                     5a6843aa47lcl439542b45e8

       94      pangxiefang~ 77                5d5762b94290153c6e58fD02



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  Defendant
            Defendant/Store Name               Seller ID
  No.
       95      bbql Store                      4921100

       96      Daily supplies Store            4776031

               Drop Shipping to Whole world
       97      Store                           4697081

       98      Fantasy House&Garden Store      5478164



      100      H&F Store                       2906124

      101      mzyxxsz Store                   2477008

      102      WenTao Accessories Store        1185160

      103      Wonder Dreaming Store           4347001




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                               IV. Unsealing Order

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SO ORDERED.         d_
SIGNED this ~       day of August, 2020
Pittsburgh, Pennsylvania




cc Stanley D. Ference III, Esq.
   courts@ferencelaw.com
   Brian Samuel Malkin, Esq.
   bmalkin@ferencelaw.com




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                         Schedule "A"
            Defendants With Store Name and Seller ID
   Defendant
             DefendanUS~ reName             Seller ID
   No.
        I       DASANI                      ATWOABRKYDC59

        2       AA-fashion                  A3R7VUXP8AT6S8

        3       Al lsuperDirect             AESJW6KWLXZZO

       4        baohuqusihanj in            A35XH4DTRI 0922

        5       cem1c                       A I X7CNIEN7DAP

       6        CT Direct Store             A38P5DA6CB99N9

       7        Daxin                       AJAHSQ2TPQEX

        8       DR Natural                  A2 l IN20G IL WJKE

       9        Emivery Direct              A3S I O0BZZUE I VI

       10       Fhsow                       A 1ZPD8ZX5 BN2LR

       1I       funarrow                    Al 1EDQ6UQ5OH8F

       12       Greatpad                    A32YVlBG6BNSKB

       13       LaiYam                      AIMSS2SSNSY7RT

       14       LEEaccessory                AlY0HOOSKBQFlL

       15       Light-Ren                   AIRZNE5Y09EUVY

   '            maohuashangcheng            AB9YO0PVOGT90
       16

       17       OSTRO                       A2KILDZTMV99DJ

       18       QinAi                       A5W0LZ4L Y0Q0O

       19       Royu                        A2A YZSNA83UAIF

       20       Sanmubo Trade               A2UCZ8AC20X9W6

       21       showhole                    Al CP0MDAL9JFTM

       22       Sundlight                   AlN3YRM4VTR0A3




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   Defendant
             Defendant/Store Name           Seller ID
   No.
       23      SY Direct Store              A lELP0PQ l 3RD0E

       24      Upperroof44                  A3GHARM07X54LI

       25      Urnanal                      A WGOQPJ5SE78U

       26      usams original               A3K2RIQKJ8SW2W

       27      VlSUSONLINE                  A2 l RES4S72ALEU

       28      VQS-LLC                      A 1QD4A WVLVNP4U

       29      waypool                      A25M12QDJFPJ1E

       30      xiangze                      AREX3GV 4VPP0N

       31      XINGPE                       A 1N0MYF79XSWT A

       32      YDKJ                         A1WET5VOG1HXBH

       33      Yuanzhou US                  A5QFDIOZIFKII

       34      YunFine INC                  A2ARSDLAEJ3COI

       35      Yuzoe Store                  A3GN86PNVGF184

       36      Zhengpin                     AlKBFROQYDV7B1

       37      ZHONG LI-US                  AlMC9F7B3O19JE

       38      aolipugre                    383518263944

       39      bachelor-button-a            333608813259

       40      beists                       383553117141

       41      betwill-88                   402309551475

       42      bluebell-b                   203004989583

       43      casand85                     392764754120

       44      cdhujun                      373031990208

       45      cell.expert                  133402785849

       46      chinatownnol                 303559475515




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   Defendant
             DefundanUS~reName              Seller ID
   No.
       47      df-311                       373060172021

       48      dowri-75                     164266070522

       49      eastauspicious               174144262125

       50      e-suggestion                 224048112803

       51      fashionyard68                143448120483

       52      fat-mango                    303497561617

       53      fist-line2                   392814825784

       54      garden show                  324193547715

       55      gelamee                      164269285 197

       56      gld_germanladen              383469479344

       57      heart-soul888                324140352658

       58      hksense 153                  124176456042

       59      home-ahome                   383378201131

       60      homefree-us                  392834135342

       61      homeshop-us                 ' 353108622657

       62      hugee6                       133416619418

       63      icenzma                      303550394507

       64      iriscelandine6               133442160171

       65      Jtazew                       233569793121

       66      jinshan2013                  14362238882 1

       67      joysistars                   133429929570

       68      lightshh                     283597139862

       69      lucky.shop_7                 193481500820

       70      nuoka7                       313087749438



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                                                               I
   Defendant
             Defendant/Store Name             Seller ID
   No.
       71      odhe15                         114230900808

       72      onlinenice                     202830539871

       73      priestlyy                      153946400943

       74      pulsation                      264663620296

       75      qingc44                        362799729739

       76      qingfengtop5                   184300363524

       77      rainc7                         362979394791

       78      shineshopa                     193473326177

       79      si lentmusic 1666-1            313 120735128

       80      ss-goodstore                   303573840783

       81      swtdkgs                        383521127485

       82      sx68wq                         353062380490

       83      teaodan                        373034603063

       84      tongliaoxinxi                  313109484873

       85      wyunlon0                       174263789449

       86      xxinlle                        383609503982

       87      zhezch                         193439383324

       88      zhongtl 1                      362978977410

       89      aweihgel5gr                    5b5547b64543f458cbe2177c

       90      baifumeimei                    5832ad86728490lb9ba0fd31



       92      DJY                            5dfle06f75e8lc0a4000a6ad

       93      guchastore                     5a6843aa47lcl439542b45e8

       94      pangxiefang~ 77                5d5762b94290153c6e58fD02



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  Case
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  Defendant
            Defendant/Store Name               Seller ID
  No.
       95      bbql Store                      4921100

       96      Daily supplies Store            4776031

               Drop Shipping to Whole world
       97      Store                           4697081

       98      Fantasy House&Garden Store      5478164



      100      H&F Store                       2906124

      101      mzyxxsz Store                   2477008

      102      WenTao Accessories Store        1185160

      103      Wonder Dreaming Store           4347001




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